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 6

 7                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 8                                   SACRAMENTO DIVISON

 9                                                      Case No. 2:19-at-00087
10
                                                        COMPLAINT FOR DAMAGES
      PHYLLIS D. FULTZ,
11
                                                        1. VIOLATION OF THE TELEPHONE
12                       Plaintiff,
                                                        CONSUMER     PROTECTION      ACT
             v.                                         PURSUANT TO 47 U.S.C. § 227.
13

14    PAYCHEX, INC,                                     JURY TRIAL DEMANDED

15                       Defendant.

16                                             COMPLAINT
17
            NOW COMES, PHYLLIS D. FULTZ (“Plaintiff”), through her counsel, WAJDA LAW
18
     GROUP, APC, complaining as to the conduct of PAYCHEX, INC (“Paychex”), as follows:
19
                                              NATURE OF THE ACTION
20

21      1. Plaintiff brings this action seeking redress for violations of the Telephone Consumer

22   Protection Act (“TCPA”) pursuant to 47 U.S.C. §227.

23                                           JURISDICTION AND VENUE
24      2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
25
        3. Subject matter jurisdiction is conferred upon this Court by the TCPA and 28 U.S.C. §§1331
26
     and 1337, as the action arises under the laws of the United States.
27
        4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
28
                                                     1 
      
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 1       in the Eastern District of California, Plaintiff resides in the Eastern District of California, and a
 2       substantial portion of the events or omissions giving rise to the claims occurred within the Eastern
 3
         District of California.
 4
                                                               PARTIES
 5
                5. Plaintiff is a natural person over 18-years-of-age who is a “person” as the term is defined
 6
         by 47 U.S.C. §153(39).
 7

 8              6. Paychex is a payroll services company with its corporate headquarters located at 911

 9       Panorama Trail S., Rochester, New York 14625. Paychex also has a corporate office located at
10       2295 Iron Point road, Suite 100, Folsom, California 95630.
11
                                              FACTS SUPPORTING CAUSE OF ACTION
12
                7. Prior to the conduct giving rise to this action, Plaintiff’s employer, Mr. Darwin Massey,
13
         contracted with Paychex for a payroll service for direct payments.
14

15              8. In or around September 2018, Plaintiff began receiving calls to her cellular telephone

16       number, (916) XXX-4848, from Paychex.

17              9. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, possessor,
18       and operator of her cellular telephone ending in 4848.
19
                10. Immediately after the calls began, Plaintiff answered a phone call to her cellular telephone
20
         from Paychex and she was greeted by a pre-recorded message.
21
                11. Plaintiff was confused as to why Paychex was calling her, as she never has had any prior
22

23       business dealings with Paychex. As Plaintiff later found out, Paychex was attempting to collect a

24       debt from Plaintiff personally that was owed by her employer (“subject debt”).

25              12. Plaintiff grew frustrated as she was continuously being called by Paychex about the subject
26
         debt. Having reached a breaking point, Plaintiff called Paychex multiple times and demanded such
27

28        
                                                                2                                                       


           
      
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 1       calls stop as she does not owe the subject debt.1
 2              13. Plaintiff’s demands that Paychex’s pre-recorded phone calls cease fell on deaf ears and
 3
         Paychex continued its phone harassment campaign.
 4
                14. Notwithstanding Plaintiff’s requests that Paychex’s calls cease, Paychex placed or caused
 5
         to be placed numerous harassing calls to Plaintiff’s cellular telephone between September 2018 and
 6

 7       present day.

 8              15. In the calls that Plaintiff did answer, Plaintiff was greeted by a noticeable period of “dead

 9       air” and a pre-recorded message.
10
                16. Upon information and belief, Paychex placed its pre-recorded voice calls to Plaintiff’s
11
         cellular telephone using an automated telephone dialing system that is commonly used in the debt
12
         collection industry to collect defaulted debts.
13
                17. The phone number that Paychex most often uses to contact Plaintiff is (800) 472-5056, but
14

15       upon information and belief, it may have used other phone numbers to place calls to Plaintiff’s

16       cellular telephone.
17              18. Paychex pre-recorded phone calls were harassing and distracting.
18
                                                               DAMAGES
19

20              19. Paychex’s unfair and harassing conduct has severely disrupted Plaintiff’s daily life and
21
         general well-being.
22
                20. Plaintiff has expended time consulting with her attorneys as a result of Paychex’s
23
         unconscionable conduct.
24
                21. Paychex’s phone harassment campaign and illegal collection activities have caused Plaintiff
25

26       actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon and

27
                                                                     
28          Plaintiff spoke to a representative of Defendant by the name of Eric.  
         1
                                                                 3                                                   


           
      
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 1       occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of
 2       personal injury resulting from the distraction caused by the phone calls, aggravation that
 3
         accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of
 4
         concentration, diminished value and utility of her telephone equipment and telephone subscription
 5
         services, debilitating Plaintiff’s voicemail capacity, the wear and tear caused to her cellular
 6

 7       telephone, the loss of battery charge, the loss of battery life, and the per-kilowatt electricity costs

 8       required to recharge her cellular telephone as a result of increased usage of her telephone services.

 9                 COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
10
                22. Plaintiff restates and realleges paragraphs 1 through 21 as though fully set forth herein.
11
                23. paychex placed or caused to be placed numerous non-emergency calls, including but not
12
         limited to the calls referenced above, to Plaintiff’s cellular telephone using a pre-recorded message
13
         or an automatic telephone dialing system (“ATDS”) without her prior consent in violation of 47
14

15       U.S.C. §227 (b)(1)(A)(iii).

16              24. The TCPA defines ATDS as “equipment which has the capacity...to store or produce
17       telephone numbers to be called, using a random or sequential number generator; and to dial such
18
         numbers.” 47 U.S.C. §227(a)(1).
19
                25. Based on the pre-recorded messages Plaintiff heard during the phone calls in which Plaintiff
20
         answered, Paychex placed these aforementioned calls to Plaintiff using pre-recorded voice
21

22       technology.

23              26. Paychex violated the TCPA by placing numerous harassing phone calls to Plaintiff’s

24       cellular telephone from September 2018 through the present day, using an ATDS without her prior
25       consent.
26
                27. Any prior consent, if any, was revoked by Plaintiff’s verbal revocations.
27
                28. As pled above, Plaintiff was severely harmed by Paychex’s collection calls to her cellular
28        
                                                               4                                                    


           
      
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 1       telephone.
 2              29. Upon information and belief, Paychex has no system in place to document and archive
 3
         whether it have prior consent to contact consumers on their cellular phones.
 4
                30. Upon information and belief, Paychex knew its collection practices were in violation of the
 5
         TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.
 6

 7              31. Paychex, through its agents, representatives, vendors, subsidiaries, third party contractors,

 8       and/or employees acting within the scope of their authority acted intentionally in violation of 47

 9       U.S.C. §227(b)(1)(A)(iii).
10
                32. Pursuant to 47 U.S.C. §227(b)(3)(B), Paychex is liable to Plaintiff for a minimum of
11
         $500.00 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Paychex’s willful and knowing
12
         violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which
13
         Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).
14

15       WHEREFORE, Plaintiff PHYLLIS D. FULTZ respectfully requests that this Honorable Court:
             a. Declare that the practices complained of herein are unlawful and violate the
16
                       aforementioned statute;
17
                   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
18                     pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
19                 c. Enjoining Paychex from contacting Plaintiff; and

20                 d. Award any other relief as the Honorable Court deems just and proper.

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 1                                          DEMAND FOR JURY TRIAL
 2                 Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
 3
         this action so triable of right.
 4
         Date: January 31, 2019                                         Respectfully submitted,
 5

 6

 7                                                                      By: /s/ Nicholas M. Wajda

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